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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                Eastern Division

Lynn Letizi
                                       Plaintiff,
v.                                                     Case No.: 1:20−cv−01226
                                                       Honorable Matthew F. Kennelly
IQ Data International, Inc., et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, April 15, 2020:


       MINUTE entry before the Honorable Matthew F. Kennelly: Pursuant to the notice
of voluntary dismissal [9], this case is dismissed without prejudice. Civil case terminated.
Mailed notice. (mma, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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